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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


KENDRA ROSS,

               Plaintiff,
                                                      Case No. 17-2547-DDC-TJJ
v.

ROYALL JENKINS, et al.,

               Defendants.


                                MEMORANDUM AND ORDER

       Plaintiff Kendra Ross seeks default judgment against defendants Royall Jenkins, The

Value Creators, Inc. (f/k/a The United Nation of Islam, Inc.), The Value Creators LLC, and The

Value Creators, Inc. Doc. 23. The court held a hearing on plaintiff’s motion on February 2,

2018. Plaintiff testified at the hearing and presented other evidence. Plaintiff’s licensed clinical

social worker also testified at the hearing. Plaintiff asked the court to enter a default judgment

against defendants on all her claims. Plaintiff also made a damages request at the hearing, asking

the court to award her damages for restitution, emotional distress, punitive damages, liquidated

damages, treble damages under RICO, and damages for conversion. Finally, plaintiff asked for

reasonable attorneys’ fees and costs. Doc. 34.

       After carefully considering the evidence adduced at the February 2, 2018 hearing and

plaintiff’s submissions, the court grants plaintiff’s Motion for Default Judgment (Doc. 23)

against all defendants and her Motion for Attorneys’ Fees (Doc. 34). The court awards plaintiff

$453,517.20 in restitution damages, $2,920,000 in emotional distress damages, $3,373,517.20 in

punitive damages, $282,677.50 as liquidated damages, $907,034.40 for trebled damages under
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RICO, and $1,800 as conversion damages. The court also awards plaintiff $117,184.34 for

reasonable attorneys’ fees and costs.

I.      Procedural Background

        On September 15, 2017, plaintiff Kendra Ross filed a Complaint against Royall Jenkins,

The Value Creators, Inc. (f/k/a The United Nation of Islam, Inc.), The Value Creators LLC, and

The Value Creators, Inc. Doc. 1. The Complaint asserts 161 federal and state law claims. The

federal claims include violations of the Trafficking Victims Protection Reauthorization Act

(“TVPRA”), 18 U.S.C. §§ 1589, 1590, and 1595, for human trafficking and forced labor; the Fair

Labor Standards Act (“FLSA”), 29 U.S.C. § 201 et seq., for unpaid wages; and the Racketeer

Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1961. The state law claims

consist of three categories: (1) violations of human trafficking laws; (2) violations of minimum

wage laws; and (3) violations of Kansas tort and quasi-contract law. Plaintiff asserts that

defendants violated Kansas, New York, New Jersey, and Ohio human trafficking laws. Plaintiff

also claims that defendants violated minimum wages laws for those same states. Finally,

plaintiff alleges that plaintiff violated Kansas laws for conversion, unjust enrichment, and both

intentional and negligent infliction of emotional distress.

        Plaintiff served the Complaint on defendant Royall Jenkins on September 21 and 25,

2017. See Docs. 9 & 10. Plaintiff served the Complaint on defendants The Value Creators, Inc.

(f/k/a The United Nation of Islam, Inc.), The Value Creators LLC, and The Value Creators, Inc.

(collectively, “The Value Creators”) on September 18 and 20, 2017. See Docs. 11–13, 15–17.

        Defendant Royall Jenkins filed a Motion for a Writ of Certiorari on October 11, 2017.

Doc. 18. Magistrate Judge Teresa J. James denied defendant’s motion, and noted that


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    It appears the Complaint unintentionally omitted Count VIII. Doc. 24 at 23 n.20. So, the claims skip
from Count VII directly to Count IX.

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defendant’s motion did not meet the requirements of the Federal Rules of Civil Procedure to

qualify as a timely Answer or other response. The other defendants have not appeared.

       On October 23, 2017, plaintiff filed an Application for Clerks Entry of Default against all

defendants (Doc. 20). The following day, the Clerk entered default against all defendants under

Federal Rule of Civil Procedure 55(a) (Doc. 22).

       Plaintiff now asks the court to enter a default judgment against all defendants under Rule

55(b)(2), awarding her damages and attorneys’ fees.

II.    Legal Standard

       Federal Rule of Civil Procedure 55 provides a two-step process for securing a default

judgment. First, Rule 55(a) allows the Clerk to enter a default against a party who “has failed to

plead or otherwise defend” a lawsuit. Second, after the Clerk enters default, plaintiff may

request the Clerk to enter judgment if the amount sought is “a sum certain or a sum that can be

made certain by computation.” Fed. R. Civ. P. 55(b)(1). But when, as here, a plaintiff’s claim is

not for a sum certain or a sum made certain by calculation, plaintiff must apply to the court for a

default judgment under Rule 55(b)(2). When considering a motion for default judgment, the

court may hold a hearing if “it needs to (A) conduct an accounting; (B) determine the amount of

damages; (C) establish the truth of any allegation by evidence; or (D) investigate any other

matter.” Fed. R. Civ. P. 55(b)(2).

       “Once the default is established, defendant has no further standing to contest the factual

allegations of plaintiff’s claim for relief.” Mathiason v. Aquinas Home Health Care, Inc., 187 F.

Supp. 3d 1269, 1274 (D. Kan. 2016) (citations and internal quotation marks omitted). The court

accepts as true all well-pleaded factual allegations in the Complaint. Id. This does not extend,

however, to allegations about the amount of damages. Id.



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       But, even after default, “‘it remains for the court to consider whether the unchallenged

facts constitute a legitimate cause of action, since a party in default does not admit mere

conclusions of law.’” Bixler v. Foster, 596 F.3d 751, 762 (10th Cir. 2010) (quoting 10A Charles

A. Wright et al., Federal Practice and Procedure § 2688, at 63 (3d ed. 1998)). When deciding

whether to enter a default judgment, a district court enjoys broad discretion. Mathiason, 187 F.

Supp. 3d at 1274.

       A default judgment also does not establish the amount of damages. Id. at 1274–75.

Instead, “[p]laintiff must establish that the amount requested is reasonable under the

circumstances.” Id. at 1275 (citing DeMarsh v. Tornado Innovations, LP, No. 08-2588-JWL,

2009 WL 3720180, at *2 (D. Kan. Nov. 4, 2009)). A court may award damages “‘only if the

record adequately reflects the basis for [the] award via a hearing or a demonstration by detailed

affidavits establishing the necessary facts.’” DeMarsh, 2009 WL 3720180, at *2 (quoting

Adolph Coors Co. v. Movement Against Racism & the Klan, 777 F.2d 1538, 1544 (11th Cir.

1985) (further citations and internal quotation marks omitted)).

III.   Findings of Fact

       A.      Defendant Royall Jenkins

       Before 1978, Royall Jenkins was a member of the Nation of Islam under the leadership of

Elijah Muhammad. Dr. Louis Farrakhan assumed leadership of the Nation of Islam when Elijah

Muhammad died in 1978. Mr. Jenkins asserts that, around the time of Elijah Muhammad’s

death, angels and/or scientists abducted him, escorted him through the galaxy in a spaceship, and

informed him he was “The Supreme Being.” During his abduction, Mr. Jenkins asserts, these

beings instructed him how to govern Earth.




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        When he “returned to Earth” in 1978, Mr. Jenkins split from Nation of Islam and

informally organized the United Nation of Islam (“UNOI”) as a radical alternative to Dr.

Farrakhan’s Nation of Islam. Since that time, Mr. Jenkins has ordered his UNOI followers to

refer to him as “Allah on Earth,” “Allah in Person,” or “The Supreme Being.”

        Sometime around 1996, Mr. Jenkins founded “Heaven”—a UNOI model community in

an economically-disadvantaged neighborhood in Kansas City, Kansas. Mr. Jenkins later

established additional UNOI communities in other places across the United States, including:

Atlanta, Georgia; Dayton, Ohio; Newark, New Jersey; Harlem, New York; Temple Hills,

Maryland; Mobile, Alabama; and Cincinnati, Ohio. The Value Creators now own the personal,

real, and intellectual property used by these communities in the nation-wide trafficking scheme

at issue in this case.

        Mr. Jenkins has a large immediate family scattered around the United States. He has

had at least 13 wives, and has fathered about 20 children (collectively, the “Royall Family”).

Mr. Jenkins calls some of his wives “concubines.” Royall Family members reside in different

locations across the United States.

        Mr. Jenkins has owned several houses on one street in Kansas City, Kansas, where his

wives, children, and grandchildren have resided. Also, Mr. Jenkins has owned a house called the

“House of Peace” in Kansas City, Kansas. The “House of Peace” is in a secret location, only

accessible by Mr. Jenkins and a few select people.

        Mr. Jenkins holds ownership interests in several businesses, including all three

business entities collectively referred to as The Value Creators. Mr. Jenkins and the rest of the

Royall Family directly have benefitted financially from the revenues of these businesses, in large

part because the businesses employ trafficked laborers who are not paid any wages for the work



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they perform. They also have derived financial benefits from the trafficked laborers who are

paid no wages for providing around-the-clock child care and housekeeping work to the Royall

Family.

       While plaintiff was a member of the UNOI community, Mr. Jenkins was the business and

spiritual leader of UNOI and head of the Royall Family. He personally made all the decisions

about the trafficked laborers which benefitted UNOI, the Royall Family, and Mr. Jenkins

himself.

       B.      UNOI

               1.      Organization

       UNOI operated as the corporate entity for Mr. Jenkins’s cult while trafficking plaintiff.

UNOI employed a hierarchical chain of command, starting with Local Secretaries at the bottom;

the National Secretary, Officers, Captains, Lieutenants, and the National Lieutenant in the

middle; and Mr. Jenkins at the top. Everyone in the chain of command ultimately reported to

Mr. Jenkins. Mr. Jenkins approved almost everything, if not everything, that happened in “his

Nation.”

       UNOI divided its membership into two groups: (1) “part-time” followers, who have a

life or job outside of UNOI community; and (2) “full-time” followers, who work for UNOI, live

in homes owned and operated by UNOI, and interact only with other UNOI followers. UNOI

afforded “full-time” followers a more respected status and fully included them in all activities.

UNOI leaders put followers on “part-time” status as a form of punishment. UNOI subjected

“part-time” followers to full-body searches before permitting them to enter UNOI meetings.

Individuals who UNOI demoted to “part-time” status could regain “full-time” status by various




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demonstrations of penance, including formal apologies expressing shame and contrition to UNOI

leaders.

        UNOI employed a strict discipline system that Mr. Jenkins primarily developed,

approved, and enforced. Under this system, individuals could receive “Class A” discipline for

severe misconduct (e.g., talking back to superiors or using an incorrect tone). Followers

subjected to “Class A” discipline were not permitted to speak freely to anyone and, instead, had

to ask permission of the individual to whom they wished to speak. The punishment period could

range from 15 days to indefinitely. Also, followers subjected to “Class A” discipline often were

forced to fast.

        Individuals could receive “Class B” punishment for moderately severe misconduct (e.g.,

playing too much, not cleaning one’s bedroom, failing a home inspection). Followers subjected

to “Class B” discipline endured public censure during meetings. Also, they often were forced to

fast.

        Individuals could receive “Class C” punishment after Class A or Class B punishment as a

parole mechanism. Individuals who received “Class C” punishment were observed more closely

for UNOI violations for about 30 days.

        Individuals could receive “Class F” punishment for extremely severe misconduct (e.g.,

being overweight, child molestation). UNOI banished followers subjected to “Class F”

discipline.

                  2.   UNOI Doctrine

        UNOI doctrine primarily focused on the supremacy of Mr. Jenkins as God on Earth.

UNOI disciples thus considered Mr. Jenkins’s teachings as prophetical. Mr. Jenkins’s teachings

emphasized and prioritized the differences between the races and genders. Mr. Jenkins claims



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that the “Black Man” is superior to the “White Man,” and that the “Black Man” created the

“Black Woman” as a natural pleasure. Mr. Jenkins also teaches that women are inferior to men

and, to escape eternal damnation, women should completely submit to men.

        These basic teachings mandated a regimented and controlled family organizational

structure within UNOI. UNOI required female members to attend regular women’s meetings,

where women learned how to be “good housewives” and how to “submit” to their husbands.

UNOI required male members to attend regular men’s meetings, where they learned how to lead

and direct their wives and children. Mr. Jenkins is the primary author of the educational

materials for both the women and men’s gender role meetings.

        UNOI monitored women’s body weights closely. UNOI weighs women every Sunday

before services. If a “full-time” female member was over an “ideal” weight, UNOI required her

to fast. If a “part-time” female member was over an “ideal” weight, UNOI required her to pay a

fee. Women were forced to meet with a psychic “doctor” to discuss their nutritional needs and

diet.

        UNOI controlled the language that members were permitted to use. For example,

members were not permitted to say, “Bless You,” “Please,” or any words that began with the

letter “P.” UNOI instructed members to say “however” instead of “but,” and to say “share with”

instead of “told.”

        UNOI employed an extensive system for courtship and marriage. Under this system,

men submitted “bids” on women to Mr. Jenkins through his chain of command in the

organization. UNOI’s chain of command either approved or rejected these bids as they moved

up to Mr. Jenkins. Mr. Jenkins ultimately approved or rejected the bids already approved by his

lower deputies. Mr. Jenkins’s reasons for rejecting bids were often as simple as the individuals



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were “not meant for each other.” There were no minimum age limits or restrictions for marriage

among UNOI members.

       Once approved, the men engaged the women in three distinct stages of courtship. First,

men were instructed to send an email to UNOI leadership with a list of women they wished to

court. The leaders then would forward that email to a psychic doctor who, he claimed, knew

which members were compatible with each other. Then, the psychic doctor would notify

UNOI’s leadership of his decisions about compatibility. After a man selected a woman from this

list, they would start “interviewing” (i.e., dating). At first, couples only could talk on the phone

and in person. Then, they were permitted to have physical contact with one another, but no

sexual contact.

       The entire courtship process typically lasted five months. If the union was permitted by

UNOI leadership, the final step in this process was marriage. UNOI members married without

securing government-issued marriage licenses.

                  3.   Education of Children and Adolescents within UNOI

       Mr. Jenkins authored the central literature for UNOI, including the children’s education

curriculum. This literature included some original teachings from Elijah Mohammed and some

literature authored by Mr. Jenkins.

       UNOI did not send its children and adolescent members to public school. Instead, it

required their attendance in UNOI’s own education system. Mr. Jenkins’s teachings asserted

that public school systems are corrupt. UNOI’s education system did not include properly

certified teachers or teaching curriculum. If individuals excelled in a subject area, UNOI would

appoint them as teachers in that subject. UNOI’s education system included courses about Mr.

Jenkins’s literature, science, and math. Mr. Jenkins’s teachings permeated all subjects in the



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children’s education curriculum. Courses often ended abruptly, and did not follow a schedule or

syllabus. During UNOI classes, young students were shown horror films such as “The Omen”

and “Crazy as Hell.”

       UNOI ran a school called the “University of the Art and Logistics of Civilization.”

UNOI required all “full-time” members to attend this “University.” Many other UNOI members

attended classes by listening to Mr. Jenkins’s recordings or conference calls led by other cult

leaders in the living room of the home where they lived.

       The disciplinary system at UNOI schools involved paddling children for infractions, even

accidental ones. For example, if a child accidentally touched one of Mr. Jenkins’s children or

grandchildren, they were beaten.

               4.      Working in UNOI

       UNOI forced its members to work in various businesses it owned, e.g., restaurants,

bakeries, supermarkets, gas stations, a sewing factory, and a construction company. Specifically,

UNOI ran a business called “Food for Life Supreme.” The Value Creators currently owns and

operates Food for Life Supreme, with locations in Atlanta, Georgia; Newark, New Jersey;

Harlem, New York; Temple Hills, Maryland; Dayton, Ohio; Cincinnati, Ohio; Mobile, Alabama;

and Kansas City, Kansas. UNOI members worked at UNOI businesses but UNOI never paid

them for the work they performed.

       Many members, including plaintiff, worked every day of the week without breaks. Many

members worked at UNOI business and schools for eight-hour shifts during the day and then

were expected to perform additional work—cooking, cleaning, childcare—when they returned to

the home where they lived. Several teenage members lived with UNOI heads of household, and

the heads of household would dictate their labor responsibilities for the home.



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       UNOI controlled where and when members went to the supermarket and which groceries

they could buy. UNOI maintained a list of approved grocery stores and approved items for

members to buy. Members were required to submit a grocery list for approval during communal

shopping runs. Many UNOI members, including plaintiff, received food stamps from the federal

government. All “full-time” members had to surrender their Electronic Benefit Transfer

(“EBT”) cards to UNOI leaders, and UNOI rationed funds from those cards by household,

controlling members’ budget allowance from the federal government. Members did not receive

a ration that was equivalent to the ration provided to them individually through the EBT cards.

               5.     Health Care for Members of UNOI

       UNOI did not provide its members with any health insurance. UNOI also did not allow

its members to receive medical care offered by individuals outside of UNOI. Instead, UNOI

limited its members to medical care provided by an individual named Dr. Marvin MacIntosh. He

treated all medical issues (e.g., obstetrics, gynecology, minor emergency medicine, and

pediatrics) experienced by UNOI members.

               6.     The Value Creators

       Around September 2011, Mr. Jenkins began changing his teaching on key doctrines such

as death and free will. Mr. Jenkins said UNOI would “be tested” and that he individually was

“going through a testing period.” At the same time, UNOI’s chain of command began to

dissipate, and Mr. Jenkins moved to Arizona, which he called “the land of peace.” Following

this “testing period,” Mr. Jenkins and other leaders organized The Value Creators entities.

       In April 2015, Mr. Jenkins and others established The Value Creators as a successor in

interest to UNOI. The Value Creators is effectively UNOI but using a different name, and it

includes all the same (or similar) businesses and members. The Value Creators essentially



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maintains the same doctrines, chain of command structure, “employment” practices, educational

mandates, and health care directives the UNOI employed.

       C.      Plaintiff Kendra Ross

       In 1991, Plaintiff Kendra Ross was born in Memphis, Tennessee. At the age of two, she

moved to Atlanta, Georgia with her mother. Shortly after settling in Atlanta, the local UNOI

temple leader introduced plaintiff’s mother to UNOI. Plaintiff’s mother, and therefore plaintiff,

joined UNOI around that time.

       From age two until age 11, plaintiff and her mother were “part-time” members of UNOI,

meaning they participated in UNOI but lived outside the organization. When she was nine years

old, plaintiff began cooking and packaging food for UNOI fundraisers. UNOI received the

proceeds from these fundraisers. Plaintiff received no compensation for this work. Plaintiff

attended public school in the Atlanta area through the fifth grade.

               1.      Kansas City, Kansas

       In 2002, at the age of eleven, plaintiff and her mother moved to Kansas City, Kansas.

There, they were elevated to “full-time” status members of UNOI. Around that time, UNOI

commanded plaintiff’s mother to remove plaintiff from public school and to send her to a UNOI-

run school. Plaintiff’s mother obeyed the command.

       At that time, a UNOI Secretary forced plaintiff to work at a UNOI-run bakery and

restaurant for a few hours before school and a full eight-hour shift after school. UNOI also

forced plaintiff to sell baked goods and work at catering events for UNOI. After working in the

bakery, plaintiff worked in a UNOI home, performing such work as cooking and cleaning, and

providing childcare.




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       The next year, Mr. Jenkins ordered that plaintiff be removed from her mother’s home,

and directed that she go live in a UNOI women’s household. This household consisted of a few

women with young girls, other girls around plaintiff’s age, and plaintiff’s sister. During this

time, UNOI forced plaintiff to maintain a strict diet of rice, beans, fruit, and salad. So, plaintiff

became severely malnourished. Plaintiff was not permitted to see a licensed doctor or otherwise

receive medical attention for her malnourishment.

       From the age of 11 through the age of 14, plaintiff worked about 8,320 hours at the

bakery, and about 2,080 hours as a maid. The prevailing wages at that time for Kansas City were

$11 per hour for bakery services and $9 per hour for cleaning services. But UNOI did not

compensate plaintiff for any of this work.

       At the age of 15, UNOI removed plaintiff from UNOI-run school so she could work at a

UNOI-owned and operated diner and teach younger UNOI students. At the diner, she prepared

and cooked food. UNOI never permitted plaintiff to attend any school, UNOI-sponsored or

otherwise, after age 15. Plaintiff worked about 2,600 hours at the diner in 2006 and 2007. The

prevailing wages at that time for a diner cook in Kansas City were $12 per hour. UNOI never

compensated plaintiff for any of this work.

       During a UNOI celebration, Ayesha Mohammad, one of Mr. Jenkins’s wives, publicly

called plaintiff and others to gather on a stage and announced where each of the individuals

would be shipped to work. Plaintiff did not have any prior notice of this forced relocation.

Plaintiff moved to Atlanta within two days of that announcement.




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                2.     Atlanta, Georgia

       When UNOI moved plaintiff to Atlanta, Georgia, plaintiff’s mother and sister were

placed on “part-time” status and were living together. Plaintiff’s mother did not know that

plaintiff would be moving to Atlanta.

       While in Atlanta, plaintiff was forced to work full-time in a restaurant owned and

operated by UNOI without any pay. Her work consisted of preparing food for the restaurant and

baking pies, cakes, and other pastries.

       While working at the restaurant in Atlanta, plaintiff severely cut her finger. She was not

given any medical attention except for two band-aids to stop the bleeding.

       While in Atlanta, plaintiff lived in one of Mr. Jenkins’s family homes. The residents of

the home included one of Mr. Jenkins’s wives, one of his concubines, the husband and son of the

concubine’s sister, another couple, and about 12 other minors. After plaintiff returned home

from the restaurant, UNOI forced her to prepare food, cook, and clean for this household of

about 15–18 people.

       Plaintiff lived in Atlanta for four or five months. During the five months she was there,

plaintiff worked about 1,320 hours as a cook at the restaurant, and about 308 hours as a house

cook and maid. The prevailing wages at that time in Atlanta were $12 per hour for restaurant

cooking services and $10 per hour for maid services. UNOI did not compensate plaintiff for any

of this work.

       UNOI sent plaintiff back to Kansas because, according to UNOI officials, she did not

have the “proper attitude.”




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               3.      Back to Kansas City, Kansas

       In Kansas City, plaintiff lived in a UNOI home with a few younger women, men, and

couples. The caretaker of the home physically and emotionally abused plaintiff. Although she

reported several injuries, UNOI did not permit her to see a licensed medical professional.

       Also during this time, plaintiff worked at a diner making meals for 25 single UNOI men.

And she provided childcare for the children in the home. Plaintiff typically would arrive at the

diner at 8:00 a.m. and work until 5:00 p.m., seven days a week. She also waited tables, but was

not permitted to keep her tips. When she returned home, plaintiff cleaned, cooked, and served

everyone until 8:30 p.m. or 9:00 p.m. each night.

       Mayesha Jenkins, the granddaughter of Royall Jenkins, called plaintiff while she was

living in Kansas to tell her that she was moving to Newark, New Jersey. UNOI moved plaintiff

to New Jersey a few days after she received this phone call.

       During her time in Kansas City, plaintiff worked about 6,552 hours at the diner, and

about 2,184 hours as a maid. The prevailing wages at that time in Kansas City were $12 per

hour for her services at the diner and $10 per hour for her housemaid and childcare services.

UNOI never compensated plaintiff for any of this work.

               4.      New Jersey and New York

       In April 2009, when plaintiff was 17, defendants forcibly moved her to New Jersey,

where she worked in restaurants in Newark, New Jersey, and Harlem, New York. She prepared

food, grilled, cooked, and waited tables for the restaurant. UNOI did not permit plaintiff to keep

her tips; it confiscated them.

       While plaintiff worked in UNOI restaurants in New Jersey and New York, UNOI leaders

expressed concern about government officials discovering minors working at their restaurants.



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UNOI leaders instructed plaintiff and others to avoid any child labor investigators. If the child

labor investigation team visited the restaurant, plaintiff was instructed to leave and “take a walk.”

       Beside her work at UNOI restaurants, UNOI forced plaintiff to cook for an entire

household of about 25 UNOI members.

       During her time in New York and New Jersey, plaintiff worked about 1,820 hours as a

cook at the restaurant, and about 156 hours as a maid and house cook. The prevailing wages at

that time in the New York City area were $14 per hour for her bakery services and $12 per hour

for her cleaning services. Plaintiff was not compensated for any of this work.

       While in New Jersey, Maryum Mohammed—a “full-time” member of UNOI—reported

plaintiff for failing to clean a blender in the restaurant. Plaintiff received a disciplinary phone

call from a UNOI leader for this infraction.

       UNOI leaders told plaintiff that she had to leave New Jersey because she did not

have the “right spirit.” The next day, UNOI leaders forced plaintiff onto a UNOI delivery truck

to move.

               5.      Dayton, Ohio

       In 2009, at the age of 18, UNOI forcibly moved plaintiff to Dayton, Ohio. In Dayton,

plaintiff lived in a group home, then with Mr. Jenkins and his family, and later with a UNOI

couple who had been demoted to “part-time” status. While living with Mr. Jenkins and his

family, plaintiff was forced to clean the entire house.

       In Dayton, plaintiff worked for another UNOI restaurant. Her duties included preparing

food and cooking for the carry-out and community customers. She worked six days per week,

beginning at 6:00 a.m. in the morning and at times working as late as 11:00 p.m. Other than

Sundays, plaintiff never took a single day off work while she was in Dayton.



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       During her time in Dayton, plaintiff worked about 2,652 hours at the restaurant, and

about 78 hours as a maid. The prevailing wages at that time for Dayton were $12 per hour for

her restaurant cooking services and $10 per hour for her cleaning services. Plaintiff was not

compensated for any of this work.

       While in Dayton, the government issued plaintiff a $150 per month food subsidy. Every

month she lived in Dayton, UNOI confiscated plaintiff’s subsidy for its own use without her

consent.

               6.     Probation and Expulsion

       In 2009, UNOI demoted plaintiff to “part-time” status after she refused to drink

bloodroot—a gin-based drink. Her refusal was reported to Mayesha Jenkins. Ms. Jenkins told

plaintiff that she had three days to find somewhere else to live, and that she would be placed on

“part-time” status.

       Later that same year, UNOI placed plaintiff on “away from us indefinitely” status and

forcibly moved her to Tennessee. There, she lived with her aunt (a non-UNOI member). This

was the first time that plaintiff lived with a non-UNOI member since age two.

               7.     Coercion Back to UNOI

       During the time plaintiff was on “indefinitely away from us” status, UNOI did not allow

plaintiff to have any contact with her mother, sisters, or friends—all of whom were members of

UNOI. So, plaintiff was alone because every person in her life from age 11 was a UNOI

member.

       UNOI obstructed plaintiff’s communications with her friends and family to coerce and

control plaintiff into rejoining UNOI. Specifically, UNOI understood that a member who was




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“away from us” would feel enormous pressure to rejoin UNOI because the UNOI community

was so dissociated from mainstream American society.

       In April 2010, feeling pressure to rejoin the only life she knew, plaintiff told leaders of

the organization that she “wanted to make her record right with Allah,” and had “learned her

lesson.” UNOI permitted plaintiff to move back to Dayton, Ohio, where she lived with

her sister and continued to work at a UNOI restaurant without pay.

       For the next two years, plaintiff worked about 10,608 hours at the restaurant, and about

312 hours as a maid. At that time, the prevailing wages in Dayton were $12 per hour for her

cooking services and $10 per hour for her cleaning services. Plaintiff, however, was not

compensated for any of this work.

               8.      Marriage

       At age 20, UNOI facilitated a marriage between plaintiff and another UNOI member

through a psychic doctor. On October 10, 2011, plaintiff’s UNOI marriage became official by

UNOI terms. Plaintiff was forced to do all the cooking, cleaning, and housework in the home

she shared with her UNOI husband. UNOI husbands, including the individual to whom UNOI

arranged a marriage for plaintiff, regularly practiced polygamy. Plaintiff is no longer in a

marriage recognized by the defendants. Plaintiff is not, and never has been, in a legal marriage.

               9.      Escape from UNOI

       Plaintiff’s painful ordeal ended only when UNOI began to fracture and she received

guidance from outside family members and non-profit organizations that had learned of

plaintiff’s treatment. In 2012, at the age of 21, plaintiff gathered her courage and strength to

escape from UNOI.




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        In 2014, plaintiff was diagnosed with post-traumatic stress disorder (“PTSD”) resulting

from her trafficking experiences. While she can control her PTSD and emotional health with

properly-prescribed treatment, she still suffers from the psychological effects of her childhood

trafficking.

IV.     Conclusions of Law

        A.     Subject Matter Jurisdiction

        “Before it may enter default judgment, the Court has an affirmative duty to determine

whether it has subject matter jurisdiction.” Olivas v. Bentwood Place Apartments, LLC, No. 09-

4035-JAR, 2010 WL 2952393, at *6 (D. Kan. July 26, 2010) (citing Ins. Corp. of Ireland, Ltd. v.

Compagnie des Bauxites de Guinee, 456 U.S. 694, 702 (1982)). Federal courts have original

jurisdiction “of all civil actions arising under the Constitution, laws, or treaties of the United

States.” 28 U.S.C. § 1331. And, 28 U.S.C. § 1367 provides that “in any civil action of which

the district courts have original jurisdiction, the district courts shall have supplemental

jurisdiction over all other claims that are so related to claims in the action within such original

jurisdiction that they form part of the same case or controversy under Article III of the United

States Constitution.” See United Mine Workers of Am. v. Gibbs, 383 U.S. 715, 725 (1966)

(holding that a district court has “[p]endent jurisdiction”—now called supplemental

jurisdiction—over state law claims in a case if subject matter jurisdiction exists over the federal

claims and the “state and federal claims . . . derive from a common nucleus of operative fact.”).

        Here, plaintiff asserts claims under three federal acts—TVPRA, FLSA, and RICO.

Plaintiff’s lawsuit thus arises under federal law, and the court has subject matter jurisdiction

under 28 U.S.C. § 1331. Plaintiff also asserts claims under state laws. Those state law claims




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derive from the same operative facts as the federal claims. The court thus has supplemental

jurisdiction over plaintiff’s state law claims under § 1367.

        B.      Personal Jurisdiction

        A court also must have personal jurisdiction over a defendant before it can enter a default

judgment against him. Bixler, 596 F.3d at 761. In a federal question case, like this one, a court

can assert personal jurisdiction over a defendant if: (1) the applicable statute potentially confers

jurisdiction by authorizing service of process on the defendant; and (2) the exercise of

jurisdiction comports with due process. Klein v. Cornelius, 786 F.3d 1310, 1317 (10th Cir.

2015) (quoting Peay v. BellSouth Med. Assistance Plan, 205 F.3d 1206, 1209 (10th Cir. 2000)

(further citations omitted)).

        RICO provides for nationwide service of process. See 18 U.S.C. § 1965(b) (“In any

action under section 1964 of this chapter in any district court of the United States in which it is

shown that the ends of justice require that other parties residing in any other district be brought

before the court, the court may cause such parties to be summoned, and process for that purpose

may be served in any judicial district of the United States by the marshal thereof.”); Cory v.

Aztec Steel Bldg., Inc., 468 F.3d 1226, 1231 (10th Cir. 2006) cert. denied, 550 U.S. 918 (2007)

(“When a civil RICO action is brought in a district court where personal jurisdiction can be

established over at least one defendant, summonses can be served nationwide on other

defendants if required by the ends of justice.”). In other words, the court properly can exercise

personal jurisdiction over defendant Royall Jenkins, an Arizona resident,2 if: (1) it has personal

jurisdiction over at least one other defendant in this action; and (2) the exercise of jurisdiction

over Mr. Jenkins satisfies the ends of justice.


2
    Plaintiff’s Complaint alleges that defendant Royall Jenkins is a resident of Arizona.


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        Plaintiff’s Complaint makes four allegations that demonstrate the court has personal

jurisdiction over The Value Creators, Inc. (f/k/a The United Nation of Islam, Inc.), The Value

Creators, LLC, and The Value Creators, Inc. They are: (1) UNOI formally changed its name in

Kansas to The Value Creators, Inc; (2) UNOI is a Delaware Corporation with its principal place

of business3 in Kansas; (3) The Value Creators, LLC has three members—Royall Jenkins,

Ephriam Woods, and William Green; and (4) Mr. Woods is a resident of Kansas. These

allegations establish that The Value Creators, Inc. is a resident of Kansas. See Newsome v.

Gallacher, 722 F.3d 1257, 1267 (10th Cir. 2013) (“[A] corporation is considered domiciled

where it is incorporated and where it has its ‘principal place of business’”). The allegations also

demonstrate that The Value Creators, LLC is a resident of Kansas. See Siloam Springs Hotel,

LLC v. Century Sur. Co., 781 F.3d 1233, 1234 (10th Cir. 2015) (“[A]n LLC, as an

unincorporated association, takes the citizenship of all its members.”). Because defendants The

Value Creators, Inc. (f/k/a The United Nation of Islam, Inc.), The Value Creators, LLC, and The

Value Creators, Inc. are residents of Kansas, the court has personal jurisdiction over them. The

court now must determine if exercising personal jurisdiction over defendant Royall Jenkins will

serve the ends of justice.

        “The ‘ends of justice’ is a flexible concept uniquely tailored to the facts of each case.”

Cory, 468 F.3d at 1232. Our Circuit has elaborated on the ends of justice idea embraced by

RICO, explaining:

        RICO was intended as a means to eradicate organized crime. That purpose is not
        furthered by withholding nationwide service of process whenever all of
        the RICO defendants could be haled into one court for a single trial. While the
        district court’s construction of the “ends of justice” might promote judicial
        economy, it might also mean that some RICO violations would go unpunished

3
   The Supreme Court defines principal place of business as “the place where a corporation’s officers
direct, control, and coordinate the corporation’s activities.” Hertz Corp. v. Friend, 559 U.S. 77, 92–93
(2010).

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        whenever organized criminals operate within the same locale and cause harm in a
        distant state. Insulating such a criminal enterprise from liability, when, for instance,
        the victim is unable to finance long-distance litigation, is not consistent
        with RICO’s purpose.

Id. (citation omitted).

        The court finds that the ends of justice are satisfied by the court exercising personal

jurisdiction over defendant Mr. Jenkins. The defendant organizations reside in Kansas. The

ends of justice require that the leader of those organizations—Royal Jenkins—be haled into court

in the locale where he established those organizations. The ends of justice also require that

defendant Mr. Jenkins be brought to justice in one of the states where he harmed plaintiff.

Kansas is the best location because the other defendants are residents of the state.

        Also, to the court’s knowledge, Mr. Jenkins is the only defendant with any contacts in

Arizona. And the court is unaware of any harm inflicted by the defendants on plaintiff while in

Arizona. On balance, the facts pertinent to Mr. Jenkins convince the court that exercising

personal jurisdiction in Kansas will serve the ends of justice.

        C.      Liability

        In the following subsections, the court analyzes defendants’ liability under the various

theories plaintiff alleges. The court concludes that the well-pleaded facts in the Complaint and

plaintiff’s testimony at the February 2, 2018 hearing establish defendants’ liability for all

plaintiff’s allegations. And defendants’ various violations entitle plaintiff to recover damages

and attorneys’ fees. The court discusses these two topics in their own sections following its

liability analysis.

                1.        Under the TVPRA (Counts I and II)

        Plaintiff’s Complaint alleges two violations of the TVPRA—forced labor and human

trafficking.

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                       a.      Forced Labor

       The well-pleaded facts alleged by the Complaint and corroborated by plaintiff’s

testimony at the February 2, 2018 hearing establish a violation of the TVPRA for forced labor.

Defendants violated both subsections (a) and (b) of § 1589 of the TVPRA.

       To prevail on a claim under § 1589(a), a plaintiff must establish that the defendant

knowingly acquired plaintiff’s labor by means and/or threats of: (1) force and physical restraint;

(2) serious harm, including psychological and financial harm; (3) abuse of the legal process; or

(4) a scheme intended to cause the plaintiff to believe that if she did not perform the labor or

services, she would suffer serious harm. See 18 U.S.C. § 1589(a); see also Aguilera v. Aegis

Commc’ns Grp., LLC, 72 F. Supp. 3d 975, 977–78 (W.D. Mo. 2014); United States v. Sabhnani,

539 F. Supp. 2d 617, 629 (E.D.N.Y. 2008), aff’d, 599 F.3d 215 (2d Cir. 2010).

       When assessing whether harm is sufficiently “serious” to satisfy the TVPRA, “the

vulnerabilities and characteristics of the specific victim become extremely important because one

individual could be impervious to some types of coercion that cause another to acquiesce in

providing forced labor.” David v. Signal Int’l, LLC, No. 08-1220, 2012 WL 10759668, at *19–

20 (E.D. La. Jan. 4, 2012). For this reason, it is “irrelevant” whether a trafficking victim actually

“had the opportunity to escape.” Ramos v. Hoyle, No. 08-21809-CIV, 2008 WL 5381821, at *5

(S.D. Fla. Dec. 19, 2008). Instead, the relevant inquiry is whether the defendant “intentionally

cause[d] the oppressed person reasonably to believe, given her special vulnerabilities, that she

ha[d] no alternative but to remain in involuntary service for a time.” United States v. Alzanki, 54

F.3d 994, 1000 (1st Cir. 1995) (internal quotation marks omitted).

       Here, defendants violated § 1589(a) by forcing plaintiff to work in UNOI businesses and

homes without pay beginning at age 11. Defendants’ intimidation tactics led plaintiff to believe



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that serious harm would come to her if she left the “safety” of UNOI. Defendants subjected

plaintiff to humiliating and degrading treatment and obstructed her communications with her

friends and family. They subjected plaintiff to physical and emotional abuse and controlled her

living situations by forcibly moving her around the United States. Defendants denied plaintiff

basic creature comforts, causing her to become severely malnourished. And she never could

seek any health insurance or medical care outside of UNOI. Similarly, defendants prohibited

plaintiff from receiving any education other than UNOI’s education system after the age of 15.

This system expounded teachings that elevated black men above all others—men and women of

other races, alike. Defendants controlled plaintiff’s romantic relationships and even the language

she could use. And defendants maintained a strict discipline system that imposed serious

punishment and public humiliation for even minor infractions. Defendants exploited plaintiff’s

vulnerability, knowing that she was unfamiliar with the world outside the cult, had received no

standard education, was constantly moved from place to place, and had no money. Plaintiff’s

allegations and testimony have demonstrated that defendants’ actions were intended to cause her

to believe that if she did not continue to work for them, she would suffer serious harm.

       Her allegations also have established a violation of § 1589(b). Defendants are liable

under § 1589(b) because they knowingly benefited by receiving something of value—namely

plaintiff’s forced labor for no compensation. See 18 U.S.C. § 1589(b). Defendants’ knowledge

is established by the fact that they trafficked individuals, including plaintiff, who were not paid

any wages for the work they performed in businesses and homes owned by defendants.

Defendants also controlled plaintiff’s purchases, confining her to specific groceries and other

items. They forced her to surrender her EBT Card (food stamps from the federal government) to

UNOI leaders and confiscated plaintiff’s food subsidy issued to her by the government.



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         For these reasons, plaintiff’s allegations establish that defendant violated both

subsections (a) and (b) of § 1589 of the TVPRA and so, the court grants plaintiff default

judgment on her TVPRA forced labor claim under Count I.

                        b.      Human Trafficking

         Plaintiff’s alleged facts and testimony also establish a trafficking claim under § 1590 of

the TVPRA. Section 1590 makes it unlawful knowingly to recruit, harbor, transport, provide, or

obtain by any means, any person for labor or services under conditions which violate any

peonage, slavery, and trafficking offenses in Chapter 77 of Title 18.

         Here, defendants recruited plaintiff for UNOI membership. Then, they harbored her in

UNOI homes where they forced her to perform childcare, cooking, and cleaning services without

pay for most of her childhood. During that time, defendants transported plaintiff around the

country against her will so she could supply forced labor. The court concludes that defendants

trafficked plaintiff for forced labor and thus grants plaintiff default judgment on her TVPRA

human trafficking claim under Count II. Defendants’ TVPRA violations entitle plaintiff to

compensatory damages for restitution and emotional distress, punitive damages, and attorneys’

fees.

                2.      Under State Human Trafficking Laws (Counts III, V, VII, and X)

         The well-pleaded facts in plaintiff’s Complaint also establish human trafficking

violations under Kansas, New York, New Jersey, and Ohio laws.

         In Kansas, Kan. Stat. Ann. § 60-5003 establishes a civil course of action for victims of

human trafficking, as defined by Kan. Stat. Ann. § 21-5426. The definition of human trafficking

and aggravated human trafficking in Kan. Stat. Ann. § 21-5426 largely tracks the definition of

the federal statute. Compare Kan. Stat. Ann. § 21-5426 with 18 U.S.C. §§ 1589, 1590. A

survivor of human trafficking can use this state law civil remedy if she has suffered—as plaintiff
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here has—personal or psychological injury because of the conduct. See Kan. Stat. Ann. § 60-

5003.

         Here, the Complaint’s facts—corroborated by the plaintiff’s testimony—establish that

defendants violated Kan. Stat. Ann. § 21-5426. They intentionally recruited, harbored, and

obtained plaintiff for labor and services while she was based in Kansas City, Kansas. They used

force, fraud, and coercion against plaintiff.

         In New York, N.Y. Soc. Servs. Law § 483-bb(c) provides a civil action for victims of

labor trafficking, as defined by N.Y. Penal Law § 135.35. The definition of human trafficking in

§ 135.35 tracks the definition used by the federal statute. Compare N.Y. Penal Law § 135.35

with 18 U.S.C. §§ 1589, 1590. Trafficking survivors can utilize the New York state civil remedy

against their “perpetrator or whoever knowingly advances or profits from, or whoever should

have known he or she was advancing or profiting from” labor trafficking in violation of N.Y.

Penal Law § 135.35. See N.Y. Soc. Servs. Law § 483-bb(c).

         Here, defendants violated N.Y. Soc. Servs. Law § 483-bb(c) by requiring plaintiff to

perform labor to repay or service a real or purported debt that defendants caused by a systematic

ongoing course of conduct with an intent to defraud plaintiff. Defendants also violated N.Y.

Soc. Servs. Law § 483-bb(c) by engaging in a scheme to compel plaintiff to engage in labor by

instilling fear that if plaintiff did not comply, she would face physical injury and “hatred,

contempt or ridicule.”

         In New Jersey, N.J. Stat. Ann. § 2C:13-8.1 provides a civil action for victims of human

trafficking, as defined by N.J. Stat. Ann. § 2C:13-8(1)(a). The definition of human trafficking in

this provision follows the definition in the federal statute. Compare N.J. Stat. Ann. § 2C:13-8

with 18 U.S.C. §§ 1589, 1590. A human trafficking survivor can use the New Jersey civil



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remedy against the traffickers and co-actors if she suffered personal or psychological injury

because of the conduct.

       Here, defendants violated N.J. Stat. Ann. § 2C:13-8.1 by enticing and transporting

plaintiff to engage in labor by fraud, deceit, and misrepresentation, and by receiving something

of value—plaintiff’s labor—by participating in a scheme or course of conduct that comprised

labor trafficking.

       In Ohio, Ohio Rev. Code Ann. § 2307.51 creates a private right of action for victims of

trafficking for “harm that resulted from the violation of section 2905.32 of the Revised Code.”

See Ohio Rev. Code Ann. § 2307.51(A). Ohio Rev. Code § 2905.32, in turn, makes it unlawful

to “knowingly recruit, lure, entice, harbor, transport, provide, obtain or maintain” or knowingly

attempt any of those actions where “[t]he offender knows that the other person will be subjected

to involuntary servitude[.]” To establish a claim under Ohio Rev. Code Ann. § 2905.32(A)(1),

“the element ‘compelled’ does not require that the compulsion be openly displayed or physically

exerted. The element ‘compelled’ has been established if the state proves that the victim’s will

was overcome by force, fear, duress, intimidation, or fraud.” See Ohio Rev. Code Ann. §

2905.32(B).

       Here, plaintiff established a violation of Ohio Rev. Code Ann. § 2307.51. In 2009, UNOI

forcibly transported plaintiff from New Jersey to Ohio to work at a Jenkins family home and a

UNOI restaurant. UNOI then harbored plaintiff in Dayton, Ohio, first in a group home, then at a

home owned by the Jenkins family, and finally with a UNOI couple. During her time in Dayton,

Ohio, plaintiff was forced into involuntary servitude, working in the UNOI restaurant and as a

maid for UNOI, all without pay. Defendants’ violation of Ohio Rev. Code Ann. § 2905.32(A)(1)

harmed plaintiff in the form of lost wages for work performed and emotional distress.



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       In sum, plaintiff has established violations of Kansas, New York, New Jersey, and Ohio

human trafficking laws and so, the court grants her default judgment on these claims in Counts

III, V, VII and X. Defendants’ violations of these state laws entitle plaintiff to recover

compensatory and punitive damages as well as attorneys’ fees. See Kan. Stat. Ann. § 60-5003;

N.Y. Soc. Servs. Law § 483-bb(c); N.J. Stat. Ann. § 2C:13-8.1; Ohio Rev. Code Ann. §

2905.32(B).

               3.      Under the FLSA (Count XII)

       Next, plaintiff has established an FLSA violation. The FLSA requires employers to pay

employees minimum wage. See 29 U.S.C. § 206(a), (f) (establishing a minimum wage of $7.25

for employees engaged in commerce and domestic services). The FLSA also provides that

employees working more than 40 hours a week must receive overtime compensation in an

amount one and one-half times the employee’s regular rate. See 29 U.S.C. § 207(a). Employers

are required to make, keep, and preserve specific employment-related records, including records

of their employees and their wages, hours, and other conditions and practices of employment.

See 29 U.S.C. § 211(c).

       A plaintiff may establish the total hours worked under the FLSA by a reasonable estimate

of hours worked and compensation received, particularly where the employer failed to maintain

employee records. See Robinson v. Food Serv. of Belton, Inc., 415 F. Supp. 2d 1232, 1235 (D.

Kan. 2005) (“[I]n FLSA cases where the employer’s time records are inaccurate or incomplete,

an employee’s burden is met ‘if he proves that he has in fact performed work for which he was

improperly compensated and if he produces sufficient evidence to show the amount and extent of

that work as a matter of just and reasonable inference.’”) (quoting Anderson v. Mount Clemens

Pottery Co., 328 U.S. 680, 687 (1946)).



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       Here, defendants failed to pay plaintiff the required compensation for her work, in both

the various bakeries and restaurants where she worked and also her domestic service work in

UNOI residences. This omission violated § 206(a) and (f) of the FLSA. Also, defendants have

violated § 207 of the FLSA by failing to pay plaintiff the applicable overtime wages for every

compensable hour of labor worked in excess of 40 hours per week. In addition to these failures,

defendants also failed to keep employment records.

       The Complaint alleges these failures with sufficient certainty. Plaintiff’s allegations also

sufficiently establish the total hours she worked. For these reasons, the court concludes that

plaintiff has established that defendants violated the FLSA and grants her default judgment on

this claim under Count XII. Defendants’ violation entitles plaintiff to recover liquidated

damages. See 29 U.S.C. § 216(b). The FLSA also entitles a prevailing plaintiff to recover “a

reasonable attorney’s fee . . . and costs of the action.” See, e.g., Gray v. Phillips Petroleum

Co., 971 F.2d 591, 593 (10th Cir. 1992) (quoting 29 U.S.C. § 216(b)).

       4.      Under State Minimum Wage Laws (Counts IV, VI, IX, and XI)

       Next, the facts alleged by plaintiff’s Complaint establish minimum wage law violations

under Kansas, New York, New Jersey, and Ohio laws.

       In Kansas, Kan. Stat. Ann. § 44-1211(a) provides a private right of action for an

employee against her employer if the employer failed to pay “less than the wages and overtime

compensation to which such employee [was] entitled.” Kan. Stat. Ann. § 44-1211(a). An

agreement between the employee and the employer to work for less than the minimum wage is

“no defense to [an] action.” Id. Here, plaintiff has shown that defendants violated the Kansas

Minimum Wage and Overtime Law. Defendants never paid plaintiff for any of her work,

including her overtime. For these reasons, plaintiff has demonstrated that defendants violated

Kansas’s Minimum Wage and Overtime Law.
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       In New York, N.Y. Labor Code § 663(1) provides a private right of action for an

employee against her employer if the employer paid her less than the wages she was entitled to

receive. Plaintiff has shown that she was defendants’ employee—she worked in businesses

owned and operated by defendants in New York for several months in 2009. And, plaintiff has

established, defendants didn’t pay her for any of the hours she worked as a cook at their New

York restaurant. Thus, plaintiff has established a violation of N.Y. Labor Code § 663(1).

       The New Jersey State Wage and Hour Law (“NJWHL”), N.J.S.A. 34:11-56 et seq.,

provides a private right of action for an employee against her employer if the employer paid her

less than the wages she was entitled to receive. See N.J. Stat. Ann. §34.11-56a25. Plaintiff has

shown that she was an employee of defendants in New Jersey for several months in 2009.

Plaintiff also has shown that she was not paid for any of her work she performed as a maid and

house cook in UNOI homes there. For these reasons, plaintiff has demonstrated a violation of

N.J. Stat. Ann. § 34.11-56a25.

       The Ohio Minimum Fair Wage Standards Act (“OMFWSA”) “requires all employers to

pay a minimum wage and overtime to certain types of employees.” See Ohio Const. Art. II, Sec.

34a (establishing minimum wage); see also Ohio Rev. Code Ann. §§ 4111.02 (duty to pay

minimum wage); 4111.03 (duty to pay overtime). The overtime standard in Ohio requires

employers to pay overtime “at a wage rate of one and one-half times the employee’s wage rate

for hours worked in excess of forty hours in one workweek.” Ohio Rev. Code Ann. §

4111.03(A). An agreement between the employee and the employer to work for less than the

overtime wage “is no defense.” See id.

       Here, plaintiff has established a violation of Ohio state labor laws. Plaintiff worked at a

UNOI restaurant in Ohio, and as a maid in the Jenkins household there, generally working six



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days a week beginning at 6:00 a.m. and ending as late as 11:00 p.m. Defendants did not provide

plaintiff any compensation for the services plaintiff performed while living in Ohio. For these

reasons, plaintiff has established violations of OMFWSA and the Ohio Constitution, Article II,

Section 34a.

       In sum, plaintiff has established that defendants violated Kansas, New York, New Jersey,

and Ohio minimum wage laws and so, the court grants plaintiff default judgment on her claims

for these violations under Counts IV, VI, IX, and XI.

       Defendants’ violation of each state’s minimum wage law entitles plaintiff to recover

damages and attorneys’ fees. See Kan. Stat. Ann. § 44-1211(a); N.Y. Lab. Law § 663(1); N.J.

Stat. Ann. §34.11-56a25; Ohio Const. Art. II, Sec. 34a; Ohio Rev. Code Ann. § 4111.10(A).

       5.      Under RICO (Count XIII)

       Plaintiff’s factual allegations also establish liability and damages under the RICO Act.

“Any person injured in his business or property by [a RICO activity] may sue therefor in any

appropriate United States district court and shall recover threefold the damages he sustains and

the cost of the suit, including a reasonable attorney’s fee.” 18 U.S.C. § 1964. The elements of a

civil RICO claim are: “(1) investment in, control of, or conduct of (2) an enterprise (3) through a

pattern (4) of racketeering activity.” Tal v. Hogan, 453 F.3d 1244, 1261–62 (10th Cir. 2006)

(citing 18 U.S.C. § 1962(a), (b), & (c)).

       Racketeering activity is defined in 18 U.S.C. § 1961(1)(B) as any act which is
       indictable under federal law and specifically includes mail fraud, wire fraud and
       racketeering. These underlying acts are referred to as predicate acts, because they
       form the basis for liability under RICO. [A] person does not have to be formally
       convicted of any predicate act before liability under 18 U.S.C. § 1962[ ] may attach.

Id. (internal quotations and citations omitted); Magnifico v. Villanueva, 783 F. Supp. 2d 1217,

1229 (S.D. Fla. 2011) (identifying human trafficking and forced labor as predicate acts under



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RICO); Nunag-Tanedo v. E. Baton Rouge Par. Sch. Bd., 790 F. Supp. 2d 1134, 1148 (C.D. Cal.

2011) (“Plaintiffs have stated valid claims for forced labor [and] human trafficking . . . and these

claims may also serve as underlying predicate acts for Plaintiffs’ RICO claim.”).

       Here, defendants trafficked plaintiff from the age of 11 through age 21 and forced her to

perform labor and services without compensation. Plaintiff thus has standing to sue under 18

U.S.C. § 1964(c). Also, defendants continuously conducted an ongoing enterprise engaged in

the pattern and practice of human trafficking and forced labor, violations of 18 U.S.C. §§ 1589,

1590 and 1595. Defendants repeatedly committed RICO predicate acts constituting a pattern of

racketeering activity by engaging in human trafficking and forced labor since at least 1978. See

id. In the commission of this racketeering activity, defendants regularly moved goods and

people across state lines, engaging in interstate commerce. See id. Plaintiff has established the

required elements for a RICO violation, and so the court thus grants plaintiff’s request for a

default judgment on her RICO claim in Count XIII. Defendants’ RICO violation entitles

plaintiff to recover trebled damages and attorneys’ fees.

               6.      Kansas State Law Claims

       Finally, plaintiff’s allegations establish defendants’ violations of Kansas state law for

conversion, unjust enrichment, and intentional infliction of emotional distress.

                       a.      Liability for Conversion (Count XIV)

       “Conversion is the unauthorized assumption or exercise of a right of ownership over

goods or personal chattels belonging to another to the exclusion of the other’s rights.” Indep.

Drug Wholesalers Grp., Inc. v. Denton, No. 92-2164-JWL, 1993 WL 191393, at *6 (D. Kan.

May 13, 1993) (internal quotations and citation omitted). Here, defendants converted plaintiff’s

government-issued food stamps and subsidies by improperly exercising a right of ownership over



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them. Plaintiff did not authorize this exercise of rights over government-issued subsidies she

properly owned. Defendants’ wrongful exercise of ownership over plaintiff’s subsidies

prohibited her from exercising her own rights over them. Plaintiff has established the required

elements for conversion. The court thus enters default judgment on Count XIV for conversion.

This conclusion entitles plaintiff to damages.

                       b.     Liability for Unjust Enrichment (Count XV)

       Plaintiff also has alleged facts establishing an unjust enrichment claim. An unjust

enrichment claim consists of three elements: “(1) a benefit conferred upon the defendant by the

plaintiff; (2) an appreciation or knowledge of the benefit by the defendant; and (3) the

acceptance or retention by the defendant of the benefit under such circumstances as to make it

inequitable for the defendant to retain the benefit without payment of its value.” Regal Ware,

Inc. v. Vita Craft Corp., 653 F. Supp. 2d 1146, 1151 (D. Kan. 2006).

       Here, plaintiff conferred a benefit on defendants by working in bakeries, factories, and

UNOI homes, where she cooked, cleaned, and cared for children without any compensation.

Defendants were aware of the benefits conferred by plaintiff’s labor and services. Defendants’

awareness is established by their widespread and continuous employment of trafficked laborers,

including plaintiff, who are not paid any compensation for work performed in businesses and

homes owned by them. Defendants retained the benefit of all of plaintiff’s various labor services

without compensating her. Plaintiff has established the required substantive elements for unjust

enrichment. The court enters default judgment on plaintiff’s claim for unjust enrichment in

Count XV. Plaintiff thus is entitled to recover damages for defendants’ unjust enrichment.




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                        c.     Liability for Intentional and Negligent Infliction of Emotional
                        Distress (Counts XVI and XVII)

        Finally, plaintiff has alleged facts establishing intentional infliction of emotional distress.

“In Kansas, the tort of outrage is the same as the tort of intentional infliction of emotional

distress.” Valadez v. Emmis Commc’ns, 229 P.3d 389, 394 (Kan. 2010). To prevail on “a claim

for intentional infliction of emotional distress, a plaintiff must prove four elements:” (1) the

defendants’ conduct “was intentional or in reckless disregard of the plaintiff; (2) the conduct was

extreme and outrageous;” (3) “a causal connection between the defendant[]s[’] conduct and the

plaintiff’s mental distress;” and (4) “the plaintiff’s mental distress was extreme and severe.” Id.

“It is only where the distress is ‘extreme’ or ‘severe’ that liability arises.” Id. at 395.

        In Valadez, the Kansas Supreme Court held:

        Liability for extreme emotional distress has two threshold requirements which must
        be met and which the court must, in the first instance, determine: (1) Whether the
        defendant’s conduct may reasonably be regarded as so extreme and outrageous as
        to permit recovery; and (2) whether the emotional distress suffered by plaintiff is
        in such extreme degree the law must intervene because the distress inflicted is so
        severe that no reasonable person should be expected to endure it.

Id. at 394.

        First, defendants’ conduct here unmistakably was intentional—or, at least—in reckless

disregard of plaintiff’s status as a free citizen of the United States. Defendants directed a

regimented cult that forced plaintiff into forced labor through systemic and continued

intimidation and psychological abuse. They deliberately developed doctrinal and disciplinary

programs to facilitate human trafficking. And, they forced individuals—plaintiff included—to

work without any pay, breaks, or benefits. Specifically, defendants forced plaintiff to work

without pay or other compensation beginning at the age of nine. They also removed her from

public school at age 11 and forced her to attend a UNOI-run school from which they later

removed her. After the age of 15, defendants refused to permit plaintiff to attend any school.
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       Defendants separated plaintiff from her mother and forced her to live in a women’s

household at the age of 12. They only fed her rice, beans, fruit, and salad, causing her to become

malnourished. And defendants prohibited her from seeing a licensed doctor or seeking medical

attention for her malnourishment.

       Defendants frequently and forcibly moved plaintiff across the country. Defendants

transferred plaintiff from one city to another in the back of a commercial delivery truck.

Throughout her entire servitude with defendants, plaintiff was subjected to verbal and physical

abuse, and express and implied threats of force and harm. She was intentionally isolated from

her family, and was forced into an arranged marriage with a polygamy practicing member of

UNOI. Defendants’ conduct toward plaintiff was intentional.

       Second, defendants’ conduct was extreme and outrageous. See Roberts v. Saylor, 637

P.2d 1175, 1179 (Kan. 1981) (“[T]he defendant[]s[’] conduct must be found to be so extreme

and outrageous as to permit recovery.”). Defendants’ conduct was more than “criticism, rough

language, and occasional acts and words that are inconsiderate and unkind[]” and “goes beyond

the bounds of decency and is utterly intolerable in a civilized society.” Taiwo v. Vu, 822 P.2d

1024, 1029 (Kan. 1991).

       Third, there is a causal connection between defendants’ conduct and plaintiff’s mental

distress. Plaintiff suffers from long lasting psychological pain and has been diagnosed

with post-traumatic stress disorder as a direct result from defendants’ conduct. Her licensed

clinical social worker testified that plaintiff would not have suffered from such pain and distress

but for such conduct.

       Fourth, plaintiff’s mental distress was extreme and severe. See Taiwo, 822 P.2d at 1029

(“[P]laintiff’s mental distress must be extreme and severe.”); Restatement (Second) of Torts §



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46, comment. j (1976) (“Severe distress must be proved; but in many cases the extreme and

outrageous character of the defendant[]s[’] conduct is in itself important evidence that the

distress has existed.”). Her emotional distress “is so severe that no reasonable person should be

expected to endure it.” Roberts, 637 P.2d at 1179. In sum, defendants stole plaintiff’s childhood

and left her underdeveloped to find her own way once she became an adult. Further, plaintiff’s

pain and distress is long lasting. She has undergone medical treatment and psychological

counseling and has been diagnosed with post-traumatic stress disorder. To this day, defendants’

actions continue to affect her ability to lead a fulfilling life.

        For these reasons, plaintiff alleges facts establishing a claim of intentional infliction of

emotional distress. The court grants default judgment on this claim. Plaintiff is entitled to

recover damages for her emotional distress under Count XVI. 4

        D.      Damages

        Defendants’ various violations—as described above—entitle plaintiff to recover a variety

of damages. The following six subsections evaluate and decide plaintiff’s requests for damages.

                1.       Compensatory Damages for Restitution

        Defendants’ violations entitle plaintiff to recover restitution damages under multiple

theories, i.e., the TVPRA, state human trafficking laws, state minimum wage laws, and for unjust

enrichment. But permitting plaintiff to recover the same bundle of damages more than once

under various overlapping legal theories would permit multiple recoveries. This, of course, is

impermissible. See Mason v. Okla. Tpk. Auth., 115 F.3d 1442, 1459 (10th Cir. 1997), overruled

on other grounds by TW Telecom Holdings Inc. v. Carolina Internet Ltd., 661 F.3d 495 (10th

Cir. 2011) (“If a federal claim and a state claim arise from the same operative facts, and seek


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   Because plaintiff establishes intentional infliction of emotional distress, the court does not address her
negligent infliction of emotional distress claim.

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identical relief, an award of damages under both theories will constitute double recovery.”). The

court concludes that these theories of recovery all arise from the same operative facts and so,

plaintiff may recover this bundle of damages just once.

                       a.      TVPRA Restitution

       Plaintiff has established that she is entitled to recover restitution damages under the

TVPRA at the prevailing wage rate. A victim of human trafficking and forced labor may recover

damages under 18 U.S.C. § 1595(a). In addition to this civil remedy, § 1593 authorizes

mandatory restitution for human trafficking victims. Id. § 1593(a). Under § 1593, victims are

guaranteed compensation for the value of their services at the minimum wage under the FLSA.

But plaintiff argues that nothing in § 1595 limits her civil recovery to minimum wage. Indeed,

the Tenth Circuit has condoned compensation in trafficking cases based on the prevailing wage

rate. See Francisco v. Susano, 525 F. App’x 828, 835 (10th Cir. 2013) (“[T]here is nothing

inappropriate in requiring those who have engaged in or benefited from forced labor to rectify

the wrong by compensating the victim at the prevailing wage rate for the work done.”). The

Circuit reasoned: “Limiting [TVPRA] victims to the FLSA remedy would inappropriately

afford criminals engaged in such egregious practices the benefit of the lowest common-

denominator minimum wage set for legitimate employers.” Id. (emphasis in original). Here,

plaintiff has established the prevailing wage rate for the locations of her forced labor at the time

she performed the services. Doc. 24-2 at 12–47 (citing U.S. Department of Labor statistics that

show the prevailing wage rate at the locations she worked).

       There is no reason to deny plaintiff compensation for the services she provided at the

same rates received by others who voluntarily provided those same services. The court thus

concludes that plaintiff is entitled to recover compensatory damages for restitution at the



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prevailing wage rate. Based on the prevailing wage rate for each service in each location and the

number of hours plaintiff performed those services, the court finds that plaintiff is entitled to

recover $453,517.20 in restitution damages under Count I and II’s claims under the TVPRA.

                       b.      State Law Restitution

       Plaintiff also is entitled to recover restitution damages under Kansas, New York, New

Jersey, and Ohio human trafficking laws. See Kan. Stat. Ann. § 60-5003; N.Y. Soc. Servs. Law

§ 483-bb(c); N.J. Stat. Ann. § 2C:13-8.1; Ohio Rev. Code Ann. § 2905.32(B). The court was

unable to locate any case authority applying the Kansas, New York, and Ohio statutes to

determine whether those laws permit plaintiff to recover restitution damages at the prevailing

wage rate or, instead, at the minimum wage rate. New Jersey, in contrast, explicitly authorizes

use of the prevailing wage rate. See N.J. Stat. Ann. § 2C:13-8.1(c)(2) (authorizing the

calculation of “the value of the injured party’s labor or services as determined by the ‘New

Jersey Prevailing Wage Act’”). Nothing suggests the other three states intended to limit

plaintiff’s recovery to the minimum wage rate. To the contrary, the rationale expressed in

Francisco favors awards at the prevailing rate. The court thus concludes plaintiff is entitled to

recover restitution damages at the prevailing wage rate under all four states’ statutes. Plaintiff

asserts—for the jobs she performed in the various state where she performed them—that she is

entitled to recover $220,568.40 under Kansas law (Count III), $14,579.50 under New York law

(Count V), $14,220.18 under New Jersey law (Count VII), and $183,055.08 under Ohio law

(Count X). See Doc. 24-1 at 1. The court agrees and awards her these amounts in restitution

damages under these state laws.

       Defendants’ violations of Kansas, New York, New Jersey, and Ohio minimum wage laws

also entitle plaintiff to recover damages. See Kan. Stat. Ann. § 44-1211(a); N.Y. Lab. Law §



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663(1); N.J. Stat. Ann. §34.11-56a25; Ohio Const. Art. II, Sec. 34a; Ohio Rev. Code Ann. §

4111.10(A). Plaintiff is entitled to recover $57,600.40 in damages for work she performed in

Kansas (Count IV), $7,064.20 for work performed in New York (Count VI), $7,064.20 for work

performed in New Jersey (Count IX), and $99,645 for work performed in Ohio (Count XI). And

so, the court awards her these amounts on these claims.

       Finally, plaintiff’s services in defendants’ Kansas-based factories, bakeries, and homes

unjustly enriched defendants (Count XV). The court already has determined the value of

plaintiff’s services in Kansas was $220,568.40. The court thus awards plaintiff this amount as

compensation on Count XV’s unjust enrichment claim.

       While plaintiff undoubtedly deserves to recover restitution damages under a variety of

legal theories, she cannot recover multiple times for the same services. Think of it this way:

Plaintiff deserves to recover restitution damages of $453,517.20 under the TVPRA. This award

is derived from defendants having forced plaintiff to perform various services for a decade

between age 11 and age 21. The TVPRA claim produced an award of $453,517.20. But it is

equally true that other sources of law entitle plaintiff to recover restitution for smaller increments

of time falling within the same ten years covered by her TVPRA claim. While varied legal

theories entitle plaintiff to recover these damages, plaintiff cannot recover multiple times for

providing the same services. See, e.g., Mason, 115 F.3d at 1459 (“If a federal claim and

a state claim arise from the same operative facts, and seek identical relief, an award

of damages under both theories will constitute double recovery.”).

       The TVPRA covers the entire span of compensable restitution, and it thus produces the

greatest recovery for plaintiff. The court already has decided that plaintiff may recover a total of

$453,517.20 for restitution damages on Counts I and II. She may recover the other incremental



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awards of restitution damages on her state law trafficking claims (Counts III, V, VII, and X),

minimum wage law claims (Counts IV, VI, IX, and XI) and unjust enrichment claim (Count XV)

only if some later proceeding would nullify the court’s award of restitution damages under the

TVPRA.

               2.      Compensatory Damages for Emotional Distress

       Plaintiff also has established that she is entitled to recover compensatory damages for

emotional distress that defendants inflicted on her under multiple theories. Like plaintiff’s

theories to recover restitution damages, these theories of recovery for emotional distress

damages, all arise from the same operative facts and so, plaintiff may recover this bundle of

damages just once. See Mason, 115 F.3d at 1459 (“If a federal claim and a state claim arise from

the same operative facts, and seek identical relief, an award of damages under both theories will

constitute double recovery.”).

                    a. TVPRA Emotional Distress Damages

       The TVPRA permits trafficking victims to recover compensatory damages for emotional

distress. See Doe v. Howard, No. 1:11-CV-1105, 2012 WL 3834867, at *2 (E.D. Va. Sept. 4,

2012) (citing Shukla v. Sharma, No. 07-CV-2972 CBA CLP, 2012 WL 481796, at *14

(E.D.N.Y. Feb. 14, 2012)). Courts have reasoned that an additional award of emotional distress

damages is necessary to “redress noneconomic harm, particularly suffering related to the squalid,

restricted, and threatening working/living conditions imposed on [TVPRA] victims.” Francisco,

525 F. App’x at 835.

       When determining such damages, courts look to “all relevant circumstances . . . including

sex, age, condition in life and any other fact indicating susceptibility of the injured person to

[the] type of harm.” Mazengo v. Mzengi, No. 07-756 RMC AK, 2007 WL 8026882, at *7



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(D.D.C. Dec. 20, 2007) (citation omitted); see also Doe, 2012 WL 3834867, at *4 (considering

false promises regarding salary, health insurance, vacation time, and a safe environment to work

when calculating forced labor damages). A victim may recover multiple emotional distress

awards for different TVPRA violations. See Shukla, 2012 WL 481796, at *14 (awarding

separate damages for forced labor and trafficking, separating damages from services and

transporting).

       Courts have awarded damages for emotional distress to trafficking victims subjected to

forced labor in amounts ranging from $415 to $780 per day. See, e.g., Gurung v. Malhotra, 851

F. Supp. 2d 583 (S.D.N.Y. 2012) (awarding $415 per day to a victim forced to work 16 hours per

day, seven days a week, for 40 months as a maid); Shukla, 2012 WL 481796, at *8–9 (awarding

$780 a day to a victim forced to work 17 hours per day for three and a half years); Doe, 2012

WL 38348767, at *3–4 (awarding $500 a day to a victim forced to work 80–90 hours per week

and confined in defendants’ home for three months).

       Here, defendants’ conduct caused plaintiff to fear them and the reprisals they would take

against her if she left. They yelled at her, and generally humiliated, shamed, and embarrassed

her on a regular basis. Defendants subjected plaintiff to grueling work days without days off.

Plaintiff was subjected to this treatment from the time she was 11 to age 21. She was young,

vulnerable, and alone during this 10-year period. Plaintiff continues to suffer the effects of her

emotional distress today.

       Plaintiff asks the court to award her $800 per day for the emotional distress she suffered.

This amount exceeds the emotional distress rate used in Shukla, but just barely. This increase is

a minor one and the facts here establish that plaintiff deserves $800 per day. Two factors stand

out to the court—the length of the emotional distress and plaintiff’s age. Plaintiff is claiming



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emotional distress sustained, unabated, for 10 years. Defendants subjected plaintiff to emotional

distress for twice as long as the victim in Shukla. Moreover, the victim in Shukla was an adult

man, while plaintiff was an adolescent girl during the vast majority of her mistreatment. The

court concludes plaintiff is entitled to recover emotional distress damages equal to $800 per day.

Plaintiff was subjected to this distress for 10 years (3,650 days). So, the court awards plaintiff

$2,920,000 for emotional distress damages under the TVPRA under Counts I and II.

                       b.      State Law Emotional Distress Damages

       Plaintiff also asks the court to award emotional distress damages under Kansas, New

York, New Jersey, and Ohio human trafficking laws. The court already has determined plaintiff

is entitled to recover emotional distress damages equal to $800 per day. Concluding that this rate

applies also to her state law emotional distress claims, the court finds that plaintiff deserves

$1,200,000 under Kansas law (Count III), $65,000 under New York law (Count V), $65,000

under New Jersey law (Count VII), and $815,000 under Ohio law (Count X). The court awards

her these amounts in emotional distress damages under these states’ human trafficking laws.

       Finally, plaintiff is entitled to recover emotional distress damages under Count XVI, her

claim for defendants’ intentional infliction of emotional distress under Kansas law. The court’s

previous calculations establish that plaintiff is entitled to recover $1,200,000 for this tortious

conduct. And so the court awards her this amount for defendants’ intentional infliction of

emotional distress.

       As with her restitution damages, plaintiff is entitled to recover emotional distress

damages under the various anti-trafficking laws and Kansas tort law, but she may recover these

damages just once. See Mason, 115 F.3d at 1459 (“If a federal claim and a state claim arise from

the same operative facts, and seek identical relief, an award of damages under both theories will



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constitute double recovery.”). Plaintiff deserves to recover emotional distress damages of

$2,920,000 under the TVPRA. Again, these damages are derived from the 10 years that

defendants inflicted emotional distress on her. And the damage amounts under other theories

cover smaller periods of time within those 10 years. Since an award under the TVPRA produces

the greatest recovery to plaintiff, the court concludes that plaintiff may recover $2,920,000 for

emotional distress damages under Counts I and II. She may recover the other emotional distress

awards recognized in this subsection—state human trafficking laws (Counts III, V, VII, and X)

and intentional infliction of emotional distress (Count XVI)—only if some later proceeding

would nullify the court’s award under the TVPRA.

               3.      Punitive Damages

       Also, plaintiff has persuaded the court that she is entitled to recover punitive damages.

Like the previous two damages subsections, plaintiff deserves to recover punitive damages under

the TVPRA and state human trafficking laws.

       Punitive damages are generally available for federal claims where defendant acts with

“evil motive or intent,” or with “reckless or callous indifference” to federally protected rights.

See Smith v. Wade, 461 U.S. 30, 56 (1983). The punitive damages inquiry focuses on the

character of the tortfeasor’s conduct. That is, whether it was of the sort that calls for deterrence

and punishment over and above that provided by compensatory awards. See F.D.I.C. v.

Hamilton, 122 F.3d 854, 860 (10th Cir. 1997).

       “Punitive damages are generally appropriate under the [TVPRA] civil remedy provision

because [the TVPRA] creates a cause of action for tortious conduct that is ordinarily intentional

and outrageous.” Ditullio v. Boehm, 662 F.3d 1091, 1098 (9th Cir. 2011). In other words,

because “the wrong done by [a] violation of the [TVPRA]” is one that involves “significant



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violations not only of labor standards but fundamental health and personal rights as well,” an

award of punitive damages in a TVPRA case is generally consistent with “the traditional use of

punitive damages . . . to punish and deter conduct involving an element of outrage.” Francisco,

525 F. App’x at 834–35. Significant punitive damages are warranted, notwithstanding the

inclusion of FLSA liquidated damages in TVPRA compensatory damages awards, because the

FLSA “simply remedies the failure to pay wages at the statutory minimum [w]age.” Id. at 835.

By contrast, “[t]he forced labor addressed by the TVPRA is a categorically different wrong,

involving work extracted from victims by the illegal and coercive means specified in the statute.”

Id.

       Indeed, courts have recognized that trafficking is a particularly depraved act and so, they

have awarded significant punitive damages for TVPRA violations. See Doe, 2012 WL 3834867,

at *4–5 (awarding punitive damages of $2 million under the TVPRA for forced labor, forced

sexual servitude, and trafficking); Gurung, 851 F. Supp. 2d 583, 595 (S.D.N.Y. 2012) (awarding

$300,000 in punitive damages for a victim forced to work as a maid for 16 hours per day, seven

days a week for forty months).

       Here, with reckless disregard for plaintiff’s health and safety, defendants intentionally

and maliciously trafficked and forced her to work in their residences and businesses for

excessive hours—all with no pay or other benefits. Defendants flagrantly violated the laws of

the United States, and trafficked other men, women, and children as well. The court thus

concludes that punitive damages are necessary to punish defendants and deter them and others

from trafficking their fellow human beings.

       Plaintiff requests $5,000,000 in punitive damages. The Supreme Court has identified

three factors that guide a punitive damages award: “(1) the degree of reprehensibility of the



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tortious conduct; (2) the ratio of punitive damages to compensatory damages; and (3) the

difference between this remedy and the civil penalties authorized or imposed in comparable

cases.” Shukla, 2012 WL 481796, at *15 (quoting BMW of N. Am., Inc. v. Gore, 517 U.S. 559,

575 (1996)).

       The first and third factors tend to be equal for TVPRA violators, so the second factor—

the ratio of punitive damages to compensatory damages—has become the focus for punitive

damages award in TVPRA cases. There is an increasing trend to award punitive damages equal

to the total compensatory damages award. See Lipenga v. Kambalame, 219 F. Supp. 3d 517, 532

(D. Md. 2016) (awarding equal compensatory and punitive damages); Lagasan v. Al-Ghasel, 92

F. Supp. 3d 445, 458 (E.D. Va. 2015) (same); Carazani v. Zegarra, 972 F. Supp. 2d 1, 27

(D.D.C. 2013) (same); Shukla, 2012 WL 481796, at *16 (reducing a jury’s punitive damage

award to an amount equal to the compensatory damages award); Canal v. Dann, No. 09–03366

CW, 2010 WL 3491136, at *4 (N.D. Cal. Sept. 2, 2010) (awarding equal compensatory and

punitive damages).

       Here, the court has awarded plaintiff $3,373,517.20 in compensatory damages. The court

concludes punitive damages in an equal amount are appropriate. The court thus awards plaintiff

$3,373,517.20 in punitive damages under Count I and II’s claims under the TVPRA.

       Plaintiff also seeks an award of punitive damages under Kansas, New York, New Jersey,

and Ohio human trafficking laws. Similar to its award under the TVPRA, the court awards

plaintiff punitive damages equal to the compensatory damages award under each state law.

Applying this concept, the court makes the following punitive damages awards: $1,420,568.40

under Kansas law (Count III); $79,579.50 under New York law (Count V); $79,220.18 under

New Jersey law (Count VII); and $998,055.08 under Ohio Law (Count X).



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        But the court uses the same logic it followed for restitution and emotional distress

damages. Because plaintiff may not recover multiple punitive damages awards for the same

body of reprehensible conduct, see Mason, 115 F.3d at 1459, and because the TVPRA produces

the greatest recovery to plaintiff, the court finds that plaintiff may recover $3,373,517.20 in

punitive damages under that act. If any subsequent proceeding should nullify this award of

punitive damages under the TVPRA, the court may need to reexamine whether the other punitive

damages awards are sufficient to serve the purposes of punitive damages.

               4.      Liquidated Damages

       Plaintiff also deserves to recover liquidated damages under the FLSA. Employers who

violate FLSA §§ 206 and 207 are liable to employees for liquidated damages in an amount

equaling the unpaid minimum wages and unpaid overtime compensation. See 29 U.S.C. §

216(b). Plaintiff’s unpaid minimum wages equal $282,677.50. See Doc. 24-1. She is entitled to

recover this amount as liquidated damages under Count XII’s claim under the FLSA, and the

court awards it to her. But, the court already has awarded plaintiff restitution damages equal to

the market value of her work. So if she recovered liquidated damages for unpaid minimum

wages it would duplicate the restitution award. As a result, plaintiff may not recover unpaid

minimum wages as liquidated damages.

       In addition to unpaid minimum wages, courts have awarded trafficking victims unpaid

overtime compensation equal to the amount of unpaid minimum wages. See Sabhnani, 599 F.3d

at 254–55 (finding the district court calculated unpaid minimum wages and then doubled it to

compensate the victims for both minimum wages and overtime compensation). Although

plaintiff cannot recover unpaid minimum wages a second time, she deserves to recover overtime

compensation under the FLSA in addition to the court’s restitution award for unpaid wages. The



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court has calculated plaintiff’s unpaid minimum wages as $282,677.50 and she is entitled to

recover this same amount for unpaid overtime compensation. See id. The court thus awards

plaintiff $282,677.50 as liquidated damages on Count XII’s claim for unpaid overtime

compensation under the FLSA.

               5.      Trebled RICO Damages

       Also, plaintiff asks for an award of treble damages under Count XIII’s RICO claim.

“RICO provides a private civil action to recover treble damages for injury sustained by reason of

a violation of its substantive provisions.” Burdett v. Harrah’s Kan. Casino Corp., 260 F. Supp.

2d 1109, 1120 (D. Kan. 2003); see Smith v. Heim, No. 85-1970-K, 1986 WL 15397, at *2 (D.

Kan. Apr. 15, 1986) (“Congress created a private cause of action with treble damages and award

of attorney fees to any prevailing plaintiff ‘injured in [her] business or property by reason of a

violation of Section 1962 of this chapter.’” (quoting 18 U.S.C. § 1964)).

       Here, plaintiff has established that she sustained an injury because of defendants’

violation of the substantive provisions of the RICO Act. The court has awarded plaintiff

$453,517.20 in restitution damages. Trebling that amount results in $1,360,551.60 and the court

awards plaintiff this trebled amount under RICO. But because she cannot recover restitution

damages more than once, plaintiff only may recover two-thirds of the trebled amount.

Accounting for the $453,517.20 already awarded as restitution damages, the court awards

plaintiff $907,034.40 for the non-duplicative, trebled value of her restitution damages under the

RICO Act.

               6.      Conversion Damages

       Finally, plaintiff asserts she is entitled to damages for conversion of her food stamp

benefits and subsidies (Count XIV). She alleges that defendants converted her food stamp



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benefits and subsidies in the amount of $150 per month for at least one year, totaling at least

$1,800. The court thus finds that plaintiff is entitled to recover conversion damages in the

amount of $1,800.

       E.      Attorneys’ Fees

       Last, plaintiff asks the court to award her attorneys’ fees. Our local rules require, “A

party who moves for statutory attorney’s fees pursuant to Fed. R. Civ. P. 54(d)(2) must promptly

initiate consultation with the other party or parties.” D. Kan. Rule 54.2(a). When the parties are

unable to agree on a fee award, “the moving party must file the following within 30 days of

filing the motion: (1) a statement that, after consultation in accordance with this rule, the parties

have been unable to reach an agreement with regard to the fee award; and (2) a memorandum

setting forth the factual basis for each criterion that the court is asked to consider in making an

award.” D. Kan. Rule 54.2(c). This court previously has excused a plaintiff from the meet and

confer requirement when the defendant had defaulted and failed to appear in the lawsuit.

Townley v. Servicemaster Co., LLC, No. 17-2430-DDC-JPO, 2017 WL 5517948, at *1 (D. Kan.

Nov. 17, 2017).

       Here, defendant Royall Jenkins has filed a pro se “Motion for Writ of Certiorari.” Since

he filed that motion, the Clerk has attempted to mail a notice of a hearing to Mr. Jenkins at the

address he supplied to the court. But that notice was returned by the United States Postal Service

and marked, “unable to forward.” See Doc. 27. And, none of the defendant business

organizations has appeared. For these reasons, the court concludes it would be futile to require

plaintiff to engage in the meet and confer process adopted by our local rule. She is excused from

this requirement.




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       Plaintiff asks the court to award her attorneys’ fees and costs of $216,080.84. As already

noted, the TVPRA, FLSA, RICO, and the Kansas, New Jersey, New York, and Ohio human

trafficking and minimum wage state law claims entitle the prevailing party to recover attorneys’

fees. For purposes of attorneys’ fees, plaintiff is considered a prevailing party if she succeeded

on “any significant issue in litigation which achieves some of the benefit [she] sought in bringing

suit.” Gambrell v. Weber Carpet, Inc., No. CIV.A. 10-2131-KHV, 2012 WL 162403, at *2 (D.

Kan. Jan. 19, 2012). Plaintiff is a prevailing party because the court is entering a default

judgment on her TVPRA, FLSA, RICO, and Kansas, New Jersey, New York, and Ohio human

trafficking and minimum wage state law claims. This entitles her to recover reasonable

attorneys’ fees.

       Here, plaintiff’s counsel is representing her on a pro bono basis. Our circuit has allowed

recovery of attorneys’ fees and costs when plaintiff was represented on a pro bono basis or by a

publicly-funded legal aid clinic. See Martinez v. Roscoe, 100 F.3d 121, 124 (10th Cir. 1996)

(upholding award of attorneys’ fees when a publicly-funded legal aid program provided

services); see also Blanchard v. Bergeron, 489 U.S. 87, 94 (1989) (“[W]here there are lawyers or

organizations that will take a plaintiff’s case without compensation, that fact does not bar the

award of a reasonable fee.”); Heng Chan v. Sung Yue Tung Corp., No. 03 CIV. 6048 (GEL),

2007 WL 1373118, at *2 (S.D.N.Y. May 8, 2007) (awarding attorneys’ fees under 29 U.S.C. §

216(b) to a law firm handling the case pro bono); Lainez v. Baltazar, No. 5:11-CV-00167-BR,

2013 WL 3288369, at *2 (E.D.N.C. June 28, 2013) (awarding attorneys’ fees under 18 U.S.C. §

1595(a) to Legal Aid of North Carolina).

       The court now must determine if plaintiff’s fee request is reasonable. The Tenth Circuit

has instructed that “[t]he most useful starting point for determining the amount of a reasonable



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fee is the number of hours reasonably expended on the litigation multiplied by a reasonable

hourly rate.” Flitton, 614 F.3d at 1176 (first citing Hensley, 461 U.S. at 433; then quoting

Robinson, 160 F.3d at 1281 (“[A] court must begin by calculating the so-called ‘lodestar amount’

of a fee, . . . [which] is the product of the number of attorney hours ‘reasonably expended’ and a

‘reasonable hourly rate.’”)). The party requesting attorneys’ fees bears the burden to prove the

number of hours spent on the case and the appropriate hourly rates. United Phosphorus, Ltd. v.

Midland Fumigant, Inc., 205 F.3d 1219, 1233 (10th Cir. 2000). Once an applicant satisfies this

burden, the court presumes that the lodestar figure is a reasonable fee. Robinson, 160 F.3d at

1281.

         After determining the lodestar amount, the court may adjust that figure upward or

downward “‘to account for the particularities of the suit and its outcome.’” Fox v. Pittsburg

State Univ., 258 F. Supp. 3d 1243, 1254 (D. Kan. 2017) (quoting Zinna v. Congrove, 680 F.3d

1236, 1242 (10th Cir. 2012)). This approach requires consideration of the factors set out in

Johnson v. Georgia Highway Express, Inc., 488 F.2d 714 (5th Cir. 1974), abrogated on other

grounds by Blanchard v. Bergeron, 489 U.S. 87 (1989). Those factors are: (1) time and labor

required; (2) novelty and difficulty of the questions presented in the case; (3) skill requisite to

perform the legal service properly; (4) preclusion of other employment by the attorneys due to

acceptance of the case; (5) customary fee; (6) whether the fee is fixed or contingent; (7) any time

limitations imposed by the client or circumstances; (8) amount involved and results obtained; (9)

experience, reputation, and ability of the attorneys; (10) undesirability of the case; (11) nature

and length of the professional relationship with the client; and (12) awards in similar cases. Id.

at 717–19.




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          Although the court may consider each factor, it need not consider those factors

“‘subsumed within the initial calculation of hours reasonably expended at a reasonable hourly

rate.’” Fox, 258 F. Supp. 3d at 1254 (quoting Mathiason v. Aquinas Home Health Care, Inc.,

187 F. Supp. 3d 1269, 1281 (D. Kan. 2016)). This is so because “[t]he lodestar calculation is

meant to be the primary consideration when awarding fees rather than the Johnson factors.” Id.

(citing Anchondo v. Anderson, Crenshaw & Assocs., LLC, 616 F.3d 1098, 1103 (10th Cir.

2010)).

          To support her fee request here, plaintiff has submitted her counsel’s billing records.

Doc. 34-1. But plaintiff’s counsel did not provide information about their experience, reputation,

or ability. By conducting its own research, the court has determined the approximate experience

of most of the attorneys who worked on this case.5 The court has consolidated the attorneys’

experience level, their hourly rate, and the hours they billed in this litigation in the table below.

                                         Hourly      Hours       Hourly       Hours
         Attorney         Experience      Rate       Billed       Rate        Billed      Total Fee
                                          2017       2017         2018        2018
    Jonathan Blank          22 years     $830.00      6.6         $865.00      9.7        $13,868.50

    Cristin Traylor         17 years      $745.00        17.8      $745.00      6.7       $18,252.50

    Meghan Cloud            13 years          N/A        N/A       $590.00      7.3         $4,307.00

    Phillip Chang           10 years      $675.00        5.6       $695.00      6.9         $8,575.50

    Gillian Chadwick        8 years       $200.00        14.9      $200.00      8.8         $4,740.00

    Lauren Mahaffey         5 years       $495.00        14.7      $525.00      14.1      $14,679.00

    Christopher             5 years       $495.00        41.9          N/A      N/A       $20,740.50
    McEachran



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    The court reviewed McGuireWoods LLP’s webpage (http://www.mcquirewoods.com). And, using
the “Professionals” tab, the court searched for each attorney.


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                                            Hourly       Hours        Hourly         Hours
         Attorney            Experience      Rate        Billed        Rate          Billed      Total Fee
                                             2017        2017          2018          2018
    Katlyn Farrell             5 years      $395.00       24.8         $440.00        5.8        $12,348.00

    Elizabeth Hutson           4 years      $430.00        133          $495.00       55.2       $84,514.00

    Kayla Marshall             3 years      $385.00        12.2         $475.00        3.1        $6,169.50

    Brian Wanglin             < 3 years6        N/A        N/A          $405.00       13.2        $5,346.00

    Totals                                                 271.5                     130.8     $193,540.50


             Plaintiff’s request also includes work conducted by paralegals and legal assistants. That

work is consolidated in the following table.

                                            Hourly      Hours         Hourly    Hours
       Paralegal/Legal Assistant             Rate       Billed         Rate     Billed           Total Fee
                                             2017       2017           2018     2018
    Chelsea Mason                              N/A       N/A            $250.00   1                 $250.00

    Bonnie Powell                           $295.00        36.6          $295.00       2.9       $11,652.50

    Cynthia Smith                           $230.00        3.8           $230.00       1.2        $1,150.00

    Maha Saad                               $220.00        7.6           $255.00       8.6        $3,865.00

    Debi Schrock                             $90.00        2.2               N/A      N/A           $198.00

    Totals                                                 50.2                       13.7       $17,115.50


             Initially, the court had some reservations about the number of timekeepers seeking fee

recovery—11 attorneys and five paralegals. A paying client might infer that this array manifests

inefficiency. But the important words in that sentence are these three: a paying client.

Plaintiff’s counsel here didn’t have such a client and they nonetheless volunteered to accept this


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    The court’s research did not permit it to determine Mr. Wanglin’s experience level. But comparing
his hourly rate to the rates of other attorneys, the court infers that Mr. Wanglin’s experience level is less
than three years.

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difficult representation. In a professional environment where the bottom line often is the bottom

line, the court declines to draw negative inferences about counsel who accept a significant pro

bono assignment. Moreover, this case is more complex than most pro bono cases. Its geography

spanned four states, and implicated each one’s laws and three separate federal acts. In these

unusual circumstances, the court concludes that numerosity concerns do not impair the fee

award.

         This takes the analysis to the hourly rates used by plaintiff’s fee request. To determine

whether the requested hourly rates are reasonable, the court must “determine what lawyers of

comparable skill and experience practicing in the area in which the litigation occurs would

charge for their time.” Case v. Unified Sch. Dist. No. 233, 157 F.3d 1243, 1256 (10th Cir. 1998)

(quoting Ramos, 713 F.2d at 555); Barbosa, 2015 WL 4920292, at *9. “The court should

scrutinize [paralegals and legal assistants’] hours and the suggested rates in the same manner it

scrutinizes lawyer time and rates.” Case, 157 F.3d at 1255 (quoting Ramos, 713 F.2d at 559).

And, the court “should base its hourly rate award on what the evidence shows the market

commands for . . . analogous litigation.” Id. (citing Beard v. Teska, 31 F.3d 942, 955–57 (10th

Cir. 1994), abrogated on other grounds by Buckhannon Bd. & Care Home, Inc. v. W. Va. Dep’t

of Health & Human Servs., 532 U.S. 598 (2001)).

         Except for Ms. Chadwick, the court finds that the rates requested by plaintiff are higher

than the billing rates commonly applied in Kansas. See, e.g, Fox, 258 F. Supp. 3d at 1271

(Robinson, J.) (finding hourly rates of $400 and $375 reasonable for attorneys with 17 and 15

years of experience in a Title VII and Title IX case); Barbosa v. Nat’l Beef Packing Co., LLC,

No. 12-2311-KHV, 2015 WL 4920292, at *10 (D. Kan. Aug. 18, 2015) (Vratil, J.) (finding

hourly rates ranging from $180 to $425 reasonable, depending on each attorneys’ level of



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experience, in an FLSA case); Seamands v. Sears Holding Corp., No. 09-2054-JWL, 2011 WL

884391, at *14–16 (D. Kan. Mar. 11, 2011) (Lungstrum, J.) (finding the following hourly rates

reasonable in a class action lawsuit for unpaid sales incentive compensation: $400 per hour for a

lawyer with more than 30 years’ experience, $290 per hour for lawyers with more than 20 years’

experience, $270 for a partner with 11 years’ experience, and $175 for associates with “lesser

experience”). Plaintiff provides the court with no basis to justify rates that exceed the norm for

attorneys in the Kansas market. And so, the court must reduce the attorneys’ billing rates to a

reasonable level. Based on past rates for comparable experience and similar—but not

identical—work, with some consideration for inflation, the court concludes the following rates

are reasonable for the sophisticated work required by this case: (1) $225 for the attorneys with

four years (or fewer) experience; (2) $250 for the attorneys with five years of experience; (3)

$200 for Gillian Chadwick; (4) $300 for Philip Chang; (5) $335 for Meghan Cloud; (6) $440 for

Cristin Traylor; and (7) $475 for Jonathan Blank.

       The court also must reduce the paralegals’ rates to conform them to the local market.

Except for Ms. Schrock, the requested paralegal and legal assistant rates also are higher than

those typically charged in this area. The court is unable to discern the precise titles of Ms.

Mason, Ms. Powell, Ms. Smith, Ms. Saad, and Ms. Schrock. Plaintiff’s submission lumps them

together as “paralegal/legal assistant.” The only distinguishing factor is their rate—Ms. Schrock

billed at a rate of $90 per hour while all the others billed over $200 per hour. The court infers

that Ms. Schrock is a legal assistant while Ms. Mason, Ms. Powell, Ms. Smith, and Ms. Saad are

paralegals.

       In 2017, our court found that $100 per hour was a reasonable rate for a legal assistant.

Bailes v. Lineage Logistics, LLC, No. 15-2457-DDC-TJJ, 2017 WL 4758927, at *8 (D. Kan. Oct.



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20, 2017). The court finds that no adjustment is necessary for Ms. Schrock’s rate. But the

paralegals’ rates exceed the norm for Kansas. In 2016, our court found that $125 per hour was a

reasonable rate for a paralegal. Mathiason v. Aquinas Home Health Care, Inc., 187 F. Supp. 3d

1269, 1281 (D. Kan. 2016); see also Barbosa, 2015 WL 4920292, at *10 (reducing Kansas City

paralegals’ hourly rate from $100 per hour to $75 per hour). The court believes it is appropriate

to adjust to accommodate inflation. The inflation rate for both 2016 and 2017 was 2.1%.

Kimberly Amadeo, U.S. Inflation Rate by Year: 1929–2020, The Balance (updated Jan. 15,

2018), https://www.thebalance.com/u-s-inflation-rate-history-by-year-and-forecast-3306093.

The court thus finds that a reasonable paralegal rate is $130.

       Based on the analysis above, the court concludes that the correct lodestar calculation is

summarized in the table below.

         Name              Total Hours Billed          Hourly Rate                  Fee

 Jonathan Blank                    16.3                          $475.00               $7,742.50

 Cristin Traylor                   24.5                          $440.00              $10,780.00

 Meghan Cloud                       7.3                          $335.00               $2,445.50

 Phillip Chang                     12.5                          $300.00               $3,750.00

 Gillian Chadwick                  23.7                          $200.00               $4,740.00

 Lauren Mahaffey                   28.8                          $250.00               $7,200.00

 Christopher                       41.9                          $250.00              $10,475.00
 McEachran
 Katlyn Farrell                    30.6                          $250.00               $7,650.00

 Elizabeth Hutson                 188.2                          $225.00              $42,345.00

 Kayla Marshall                    15.3                          $225.00               $3,442.50

 Brian Wanglin                     13.2                          $225.00               $2,970.00


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          Name              Total Hours Billed          Hourly Rate                   Fee

 Chelsea Mason                       1                            $130.00                   $130.00

 Bonnie Powell                     39.5                           $130.00                $5,135.00

 Cynthia Smith                       5                            $130.00                   $650.00

 Maha Saad                         16.2                           $130.00                $2,106.00

 Debi Schrock                       2.2                            $90.00                   $198.00

 Lodestar Amount                                                                      $111,759.50


         Next, the court turns to the Johnson factors. See Fox, 258 F. Supp. 3d at 1254 (“Once the

court determines the lodestar, it must then determine whether any upward or downward

adjustments should be made to the lodestar to account for the particularities of the suit and its

outcome [by considering the Johnson Factors].” (internal quotation marks and citation omitted)).

Most of the factors are subsumed within the lodestar calculation. Pennsylvania v. Del. Valley

Citizens’ Council for Clean Air, 478 U.S. 546, 563 (1986) (citing Blum v. Stenson, 465 U.S. 886,

898–901 (1984)). Although the factors not subsumed can justify an upward departure from the

lodestar amount, such modifications are reserved for “rare” and “exceptional” circumstances. Id.

(quoting Blum v. Stenson, 465 U.S. 886 at 899).

         None of the Johnson factors present an exceptional reason to depart from the lodestar

amount. The court thus finds that the lodestar amount is a reasonable one. Accordingly, the

court grants plaintiff’s Motion for Attorneys’ Fees and awards plaintiff $111,759.50 in attorneys’

fees.

         Plaintiff’s motion also requests $5,424.84 in costs. The court has reviewed the costs and

finds that they are reasonable, all incurred during litigation of this case. The court thus awards

plaintiff $5,424.84 to compensate plaintiff’s counsel’s their reasonable costs.

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V.     Conclusion

       The court grants plaintiff default judgment on all her claims. The court also awards

plaintiff $453,517.20 for restitution damages, $2,920,000 for emotional distress damages,

$3,373,517.20 for punitive damages, $282,677.50 for liquidated damages, $907,034.40 for

trebled RICO damages, and $1,800 for conversion damages. Finally, the court awards plaintiff

$117,184.34 for reasonable attorneys’ fees and costs.

       IT IS THEREFORE ORDERED BY THE COURT THAT plaintiff’s Motion for

Default Judgment under Fed. R. Civ. P. 55(b)(2) (Doc. 23) is granted.

       IT IS FURTHER ORDERED THAT judgment be entered in favor of plaintiff against

defendants in the amount of $453,517.20 for restitution damages, $2,920,000 for emotional

distress damages, $3,373,517.20 for punitive damages, $282,677.50 for liquidated damages,

$907,034.40 for trebled RICO damages, and $1,800 for conversion damages.

       IT IS FURTHER ORDERED THAT plaintiff’s Motion for Attorneys’ Fees (Doc. 34)

is granted. The court awards plaintiff $117,184.34 for reasonable attorneys’ fees and costs.

       IT IS SO ORDERED.

       Dated this 23rd day of May, 2018, at Topeka, Kansas.

                                                    s/ Daniel D. Crabtree
                                                    Daniel D. Crabtree
                                                    United States District Judge




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